         Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 1 of 9




                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and have
been so employed since 2015. During that time, I have investigated corruption of local and federal
officials, fraud against the government, bribery, and threat to life cases. I have also conducted
investigations of unlawful drug distribution, in violation of Title 21, United States Code, Sections
841 (a)(1), 843(b), and 846. I have prepared and assisted in the preparation of court orders and
search warrant applications. Additionally, during the course of these and other investigations, I
have conducted or participated in physical and electronic surveillance, assisted in the execution of
search and arrest warrants, debriefed informants, interviewed witnesses and suspects, and
reviewed other pertinent records. Through my training, education, and experience, I have become
familiar with the efforts of persons involved in criminal activity to avoid detection by law
enforcement. I am assisting in the investigation and prosecution of events which occurred at the
United States Capitol on January 6, 2021.

        This affidavit is submitted for the purpose of establishing probable cause. The facts in this
affidavit are based on my investigation, personal observations, training, and experience, as well as
information conveyed to me by other law enforcement officials. Because this affidavit is limited
in purpose, it is not intended to include each and every fact and matter observed by me or known
to the United States.

                     Probable Cause – The U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate Chamber.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

        At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,
and over the barricades and officers of the U.S. Capitol Police, and the crowd advanced to the
exterior façade of the building. At such time, the joint session was still underway and the exterior
           Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 2 of 9




doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows. Shortly thereafter, at approximately 2:20 p.m. members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the
joint session of the United States Congress was effectively suspended until shortly after 8:00 p.m.
Vice President Pence remained in the United States Capitol from the time he was evacuated from
the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                 Probable Cause – Specific to Jesus Rivera

        On January 6, 2021, I estimate the defendant Jesus Rivera entered the U.S. Capitol by no
later 3:15pm. At approximately 20:15:57 UTC, or 3:15pm EST, Rivera uploaded to his Facebook
account (as identified below) a five minute video showing a crowd of individuals in the U.S.
Capitol crypt (Exhibit A). 1 Approximately 13 seconds into the video, Rivera changed the direction
of the camera towards the individual recording the video and Rivera’s face is clearly visible
(Exhibit B). The camera angle then changes back to outward facing and the crowd is once again
visible. The video ends with the individual recording the footage, Rivera, beginning to climb out
of a window. This video was uploaded to Facebook under Facebook User ID (UID)
100000676863469. That Facebook account has since been disabled or deleted however a Facebook
index page, provided to the FBI in the return of a Federal Search Warrant, listed several identifiers
that correspond with Rivera. These identifiers include Rivera’s last name, first initials, three phone
numbers attributed to Rivera in open source, the payment name “Jesus Rivera” and a city of
residence of Pensacola, Florida, which matches Rivera’s city of residence.

        Earlier on January 6, 2021, Rivera uploaded two other videos to Facebook via “Facebook
Live” that show Rivera approaching the U.S. Capitol and then on the U.S. Capitol grounds
surrounded by individuals demonstrating or protesting. The first video was uploaded at
approximately 18:42:30 UTC, or 1:42 EST (Exhibit C). The video is approximately 1 minute 51
seconds long. Approximately 22 seconds into the video, Rivera states, “record numbers here in
DC.” Approximately 1 minute 40 seconds into the video, Rivera states, “hey guys, if you are on
here, share this live because I am about to take my ass to the middle of the state capitol and see
what’s going on, where they are trying to jump in.” 2

1
  Coordinated Universal Time (UTC) is the primary time standard by which the world regulates clocks and time. UTC
is used in many internet and World Wide Web standards. Time zones around the world are expressed using positive
or negative offsets from UTC. In the Eastern Time zone, where Washington, D.C. is located, the negative offset is
five, or “UTC-05:00.”
2
 Although Rivera says “state capitol”, given his previous assertion that he was in Washington, D.C., and the following
videos that place him on the U.S. Capitol grounds and then in the crypt of the U.S. Capitol, it is reasonable to assume
he meant the national U.S. Capitol Building.
         Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 3 of 9




       At approximately 18:59:16 UTC, or 1:59pm EST, Rivera uploaded a video that was
approximately 10 minutes 54 seconds long showing a large and loud protest on the U.S. Capitol
grounds (Exhibit D). Several times in the video, Rivera changes the camera angle to selfie mode
where he is visible as the author/creator of the video.

       Your affiant reviewed screenshots from the aforementioned videos as well as other social
media profiles for Rivera to include Facebook, Instagram and Twitter. Your affiant was also able
to discover Rivera’s Florida DMV records which matched the publicly available biographical
information for Rivera. Your affiant compared the screenshots with social media photos as well as
the DMV photo included below:




        Your affiant believes the screenshots from the Facebook videos and biographical information
match the identity of the individual named JESUS RIVERA, who resides in Pensacola, Florida and has the
associated DMV photo showed above.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Rivera violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority; and (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.
         Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 4 of 9




        Your affiant submits there is also probable cause to believe that Rivera violated the
following subsections of 40 U.S.C. § 5104(e)(2): Subsection (D), by uttering loud, threatening, or
abusive language, or engaging in disorderly or disruptive conduct, at any place in the Grounds or
in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
Subsection (G), by parading, demonstrating, or picketing in any of the Capitol Buildings.


                                                      _________________________________
                                                      ADAM MARDEL
                                                      SPECIAL AGENT
                                                      FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 19th day of January 2021.
                                                                            2021.01.19
                                                                            13:13:01 -05'00'
                                                      ___________________________________

                                                      ZIA M. FARUQUI

                                                      U.S. MAGISTRATE JUDGE
Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 5 of 9




                                 Exhibit A
Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 6 of 9




                           Exhibit B
Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 7 of 9




                           Exhibit C
Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 8 of 9




                           Exhibit D
Case 3:21-mj-00003-EMT Document 1-1 Filed 01/20/21 Page 9 of 9
